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                         In the US District Court for the State of Oregon

Benjamin Jay Barber
                                                   Case No. 3:22-cv-00134-MO
V.
Unitus Community Credit Union,                     Amended Verified Complaint
Rebecca Rich, in her official capacity             (Class Action Status Requested)
as branch manager for Unitus                       (Jury Trial Requested)
Unknown John Doe, in his official capacity as
bank teller for Unitus


                                                   m and 5:00pm Benjamin Barber did visit the
On December 21 2021 between the hours of 3:00p
                                                   Union to open a checking account, with the
Westmoreland branch of Unitus Community Credit
                                                       issued pursuant to the settlement
purposes of depositing a class action settlement check
                                                     Coba, et al case no 3:20-cv-0186-IM
agreement in Great Northern Resources et al v. Katy
USDC D.Or

                                                         told by the teller that he required 2 pieces
Upon the request to open an account, the plaintiff was
                                                      d identification, and for the secondary
of identification, that he could use government issue
                                                      ial institution. The defendant was also told
identification he could use a bank card from a financ
                                                       form of a lease.or utility payment.
that he was required to have proof of address, in the

                                                       card (2) social security card (3) his
The plaintiff provided to the teller his (1) Oregon ID
                                                         his Coinbase Visa card (5) his Paypal
Washington County Jail picture identification card (4)
                                                         his identification was too new for proof of
Cash card, whereupon the teller told the plaintiff that
                                                         ry Link internet bill for proof of address.
residence, and the plaintiff offered to locate his Centu
                                                       cash cards are not sufficient as identification.
The teller also stated that his coinbase and paypal

                                                          a customer of Unitus Community Credit
Plaintiff informed the teller that he in fact used to be
                                                       that information. Moreover, the check itself
Union, and that they could identify his identity with
                                                           and that it was issued as a part of the
also bears his address, as further proof of residence,
                                                         to which he filed motions bearing his
Oregon "Black Only" COVID relief program lawsuit,
address and are public record.

                                                        the rules and regulations that the
 Whereupon the plaintiff demanded to see a copy of
                                                         as their "know your customer" (kyc) rules, a
 organization uses to verify identity, known hereafter
                                                           in 31 CFR 1020.220. The teller slated
 common regulatory phrase to embody the regulations
                                                          unitus rules regarding opening accounts,
 that he didn't have any way for the plaintiff to see the
 and summoned a manager defendant Rebecca Rich.

                                                       base and paypal cash cards are not
 Defendant Rich averred to the plaintiff that his coin
                                                            "know your customer" rules to which the
 appropriate as identification, because they do not have
                                                        to verify those rules, as required by the
 Plaintiff responded that Coinbase does in fact have
                                                       cryptocurrencies to US dollars, and in fact
 securities and exchange commission to exchange
 has an office in Portland, Oregon,


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                                                   fact needed "3 forms of id" (exact citation), and
Defendant Rich averred to the plaintiff that he in
                                                   his state photo id was issued too recently.
including his State photo identification, because
                                                      ase or paypal as financial institutions, even
Defendant confirmed that they do not accept coinb
                                                      and bear plaintiff's name, and that they do
though she confirmed they are not "prepaid" cards
                                                  te Card.
not recognize the Washington County Jail Inma
                                                                                                to
                                                  would not be able to use his previous account
Defendant Rich averred to the plaintiff that they
                                                   closed more than 3 years old.
verify his identity, because the account has been

                                                  that with all of the objects that he listed herein,
Plaintiff requested the defendants confirm to him
                                                   s, which they did confirm to the plaintiff.
he would be unable to open an account with unitu

                                                  company Unitus does not provide to the public,
Defendant Rich averred to the plaintiff that the
                                                      unts with their organization, upon which the
the rules and regulations regarding opening acco
                                                        belief, that such disclosures were in fact
plaintiff stated that it was upon his information and
                                                    ing Oregon's "Deceptive Trade Practices" laws
required and that the organization is likely violat
for its failure to disclose that information.

                                                        to provide the rules and regulations, and that
 Plaintiff averred that he would return the next day,
                                                     s, that he would then see them in Multnomah
 if there was no compliance with those regulation
                                                      he applied through the Unitus Website for a
 County Circuit Court. After returning to his home
                                                     processed in one day, and he would receive
 checking account, and was told that it would be
                                                         ite, and nowhere did the any of these rules
 further information. Plaintiff visited the Unitus webs
                                                           ing text appears at
 stated by the defendant appear, but rather the follow
                                                    archived at https://archive.md/1 eYZh :
  https://www.unitusccu.com/business-checking/

         "For each account owner and signer:
                                                                    e with a current address. If
             1. Primary form of ID, usually a valid driver's licens
                                                                      a utility bill showing your
                address is not current, bring a document such as
                current address.
                                                                 t card from another financial
             2. Secondary form of ID, usually a debit or credi
                 institution"

  Claim 1: 12 CFR Part 55 Fair Access to Finan
                                               cial Services [Docket ID OCC-2020-0042] . 31
                                                 program requirements for banks.
  CFR § 1020.220(A)(5) - Customer identification

                                                     told the plaintiff, was not published for notice to
  Plaintiff avers that the policy that the defendant
                                                        to open the account, in violation of the federal
  the public, before the plaintiff traveled to the bank
                                                        over that the bank failed its obligation to:
  regulation obligating the defendant to do so. More
                                                             le to present an unexpired
           "address situations where an individual is unab
                                                               bears a photograph or similar safeguard;
           government-issued identification document that
                                                                nted; the account is opened without
            the bank is not familiar with the documents prese
                                                                  unt without appearing in person at
            obtaining documents; the customer opens the acco


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                                                           nted with circumstances that increase
       the bank; and where the bank is otherwise prese
                                                           true identity of a custo mer through
       the risk that the bank will be unable to verify the
       documents."

                                                          by the customer with information
       "through the comparison of information provided
                                                           c database, or other source; checking
       obtained from a consumer reporting agency, publi
                                                         obtaining a financial statement."
       references with other financial institutions; and

                                                    pursuant to   12 USC 1(a), to provide fair access
Moreover that the bank is required by the OCC
                                             n failed to do, as   stated in the official rule making it
to financial services, which the organizatio
must:
                                                             to   all persons in the geographic market
        (1) Make each financial service it offers available
                                                          equal   terms;
        served by the covered bank on proportionally

                                                        covered bank offers unless the denial is
        (2) Not deny any person a financial service the
                                                           ed failure to meet quantitative,
        justified by such person's quantified and document
                                                           nce by the covered bank; and
        impartial risk-based standards established in adva

                                                             n a financial service the covered bank
        (3) Not deny, in coordination with others, any perso
        offers

                                                     for enforcement of this provision, though the
There is no right of private enforcement provided
                                                       .
violation there of is offered as proof of claims below


                                                    . § 1691 e(b), 12 C.F.R. § 1002 .16, 42,
 Claim 2: Equa l Cred it Oppo rtuni ty Act 15 U.S.C
 Discr imina tion U.S.C . § 2000 a, ORS 659A .403

                                                       a bank acco unt, due to the denia l of servi ces
 Plain tiff aver s that being unab le to even open
                                                            the plain tiff from also being able to
 from the defe ndan t Rebecca Rich, also prec ludes
                                                        ess Unitu s. Plain tiff aver s that the denia l was
 requ est credi t servi ces from defen dant' s busin
                                                      beca use Mrs. Rich did not know the statu s of
 not proxi mate ly related to any finan cial risk,
                                                          Mrs. Rich used arbit rary rules whic h were
  his finan ces. Inste ad the Plain tiff aver s that the
                                                           imina te on the basis of the plain tiffs
  not a part of their offici al busin ess policy, to discr
                                                        (the coron aviru s chec k).
  disability, race, or sour ce of publi c assis tance

                                                    h the plain tiff was treat ed comp ared to
 Evide nce of Discrin:iination, is the way in whic                                                a
                                                   to how he was treat ed befor e when he was
 simil arly situa ted indiv idual s, and comp ared
                                                   he was treat ed, leads him to belie ve that there
 custo mer. More over the dem eano r in whic h
                                                      ary, unlaw ful, and undo cume nted rules.
 was some anim us, beca use of her use of arbitr

                                             on individual's presentation of identification other
  Claim 3: ORS 659A.343 Discrimination based
  than Real ID prohibited



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                                                        minated, based on the plaintiffs production of
Plaintiff avers that the defendant intentionally discri
                                                            County Jail Inmate identification card.
his state ID which is not a Real ID, and his Washington

                                                practices
Claim 4: ORS 646.607(1) Unlawful business trade

                                                        able tactics, by relying on a set of secret
Plaintiff avers that the defendant employed unconscion
                                                    atively be used to disguise or employ
and allegedly unpublished rules, which could altern
                                                                       ,
unlawful discrimination.

                                                       able tactics, by fabricating a set of rules
Plaintiff avers that the defendant employed unconscion
                                                       website.
which are contradicted by the rules published on their

                                                            representations concerning credit
Claim 5: ORS 646.608(k) Makes false or misleading
                                                        tion incurred.
availability or the nature of the transaction or obliga

                                                        ading representations, about the eligibility
Plaintiff avers that the defendant made false or misle
                                                            nting that there were rules that actually
of the plaintiff for credit through the bank, by misreprese
                                                         legal.
did not exist, or were not advertised, or that were not

 Claim 6:_ ORS 646.608(u) Engages in any other
                                               unfair or deceptive conduct in trade or
 commerce.

                                                         deceptive, because the defendant
 Plaintiff avers that the defendant was either unfair or
                                                          ing federal regulations.
 implemented rules that were not published, thus violat

                                                          ed with proper notice, is unfair because it
 Plaintiff further avers the specific rule even implement
                                                        y unnecessary, not the least restrictive
 does not represent a legitimate business need, legall
                                                           disabilities, creating a disparate impact
 means, and overly burdensome to the customers with
 upon them.

                                                  et
 Claim 7: ORS 401.965 Abnormal disruption of mark

                                                           there is an abnormal disruption in the
 Plaintiff avers that banking is an essential good, that
                                                        by the defendant upon plaintiffs and other
 market due to COVID, and that the costs imposed
                                                           bit the payment of COVID relief funds to
 similarly situation to plaintiff, are excessive and prohi
                                                         Governor has declared a state of
 persons financially affected by COVID, and that the
                                                           which are mandated by the state.
 emergency and disruption of markets due to COVID

  Claim 8: ORS 30.860 Action for trade discriminat
                                                   ion

                                                          st the plaintiff, because the plaintiff
  Plaintiff avers that the Defendant discriminated again
                                                           rights litigation, regarding the "black only"
  disclosed to the defendant that he participated in civil




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                                                     he woul d require 3 forms of ident ificat ion.
covid relief fund, by inform ing the plain tiff that
                                                       dama ges sustained.
Ther efore the plaintiff is entitled to three fold the

                                                    the chec k were the proce eds of a lawsu it
Plaintiff avers that the defen dant was awar e that
                                                    upon inform ation and belie f that the proce eds
regarding the "blac k only" coron aviru s fund, and
from such lawsu it disgu sted the defen dant

                                                   the defen dant was visibl y disgu sted by his
Plaintiff avers upon inform ation and belie f that
                                                    her facial and body langu age, and the dispa rate
immu table and prote cted chara cteris tics given
                                                     mem bers of the public.
treatm ent that he received as oppo sed to other

                                                   mers
Claim 10: ORS 646.0 80 Spec ial servi ces to custo
                                                                                                       ed to
                                                  him to extra neou s regulation, that is riot appli
The plain tiff avers that the defen dant treate d
                                                     for spec ial treat ment in viola tion of the statute,
any other perso n, and there fore singl ed him out                                                         of
                                                   and his ex wife had previ ously been custo mers
base d on inform ation and belie f that both him
                                                   red to prese nt 3 differ ent forms of ident ificat ion.
Unitus, and that the typic al person is not requi

                                                      with Busin ess Relat ions (com mon law tort)
 Claim 11: Inten tiona l or negli gent Interf erenc e

                                                         lly or negli gentl y interf ered with the Busin ess
 Plaintiff avers that the defen dant eithe r inten tiona
                                                    and with the court appo inted settle ment
 relationship betw een the plain tiff and Unitus,                                                          for
                                                      , eithe r for impro per purpo ses and motiv es or
 administrator, and with the comp any Coin base
 a lack of using due care.

                                              Pray er for Relief

                                                              dant could have in fact follow ed the "know
 Plain tiff seek s decla rator y judgm ent that the defen                                                  by
                                                        evide nce both provi ded by the defen dant, and
 their custo mer" rules, given the docu ment ary
                                                          CFR § 1020 .220( a)(2) (ii)(B )
 the meth ods used in the feder al regul ation s 31
                                                               ded by the custo mer with inform ation
           "thro ugh the comp ariso n of inform ation provi
                                                                publi c datab ase, or other sourc e; chec king
           obtai ned from a cons umer reporting agency,
                                                                  obtai ning a finan cial state ment ."
            refer ence s with other financial instit ution s; and

                                                    defen dant failed its oblig ation to:
  Plaintiff seek s decla rator y judgm ent that the
                                                               le to prese nt an unex pired
           "addr ess situa tions wher e an indiv idual is unab
                                                                  ears a photo graph or simil ar safeg uard;
           gove rnme nt-iss ued ident ificat ion docu ment thatb
                                                                  nted; the acco unt is open ed witho ut
           the bank is not famil iar with the docu ment s prese
                                                               acco unt witho ut appe aring in perso n at
            obtai ning docu ment s; the custo mer open s the
                                                                  nted with circu msta nces that incre ase
            the bank; and wher e the bank is other wise prese
                                                             the true ident ity of a custo mer throu gh
            the risk that the bank will be unab le to verify
           docu ment s."

                                                           dant failed its oblig ation s to:
   Plaintiff seek s decla rator y judgm ent that the defen


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                                                                                                      a
                                                       of this secti on and prov ides the notic e in
        "describes the ident ificat ion requ irem ents                                           e,  or is
                                                          a custo mer is able to view  the notic
        man ner reas onab ly desig ned to ensu re that
                                                        acco unt"
        othe rwise given notice, befo re open ing an
                                                                                                        gard
                                                    ndan t Rich inten tiona lly or with reck less disre
Plaintiff seek s decla rator y judg men t that defe
                                                that bank reco rds are retained for.
for the truth, misr epre sent ed the dura tion
                                                                                                        gard
                                                    ndan t Rich inten tiona lly or with reckl ess disre
Plaintiff seek s decla rator y judg men t that defe                                             base and
                                                verif y the plaintiffs identity, using the coin
for the truth, misr epre sent ed her ability to
paypal cash acco unts .
                                                                                                         gard
                                                     ndan t Rich inten tiona lly or with reck less disre
Plain tiff seek s decla rator y judg men t that defe                                                 issue d
                                                 verif y the ident ity of the plaintiff, using state
for the truth, misr epre sent ed her abilit y to
phot o 1D's that were rece ntly issued to him.
                                                                                                         gard
                                                     ndan t Rich inten tiona lly or with reck less disre
Plai_ntiff seek s decla rator y judg men t that defe                                               Was hing ton
                                                 verif y the ident ity of the plaintiff, using the
for the truth, misr epre sent ed her abilit y to
Coun ty Jail ID that was issued to him.
                                                                                                         gard
                                                     ndan t Rich inten tiona lly or with reckl ess disre
 Plaintiff seek s decla rator y judg men t that defe                                               the state
                                                 ndan t woul d require 3 form s of ID inclu ding
 for the truth, misr epre sent ed that the defe
 IDs to ident ify hims elf to the company.
                                                                                                       ness ,
                                                     ndan t Rich inten tiona lly or with willful blind
 Plaintiff seek s decla rator y judg men t that defe                                            could  verify
                                                  were othe r avail able meth ods that they
 failed to discl ose to the plaintiff, that there
 his ident ity to the company.
                                                                                                         d
                                                      appl icatio n of these and othe r facts unco vere
 Plaintiff seek s decla rator y judg men t rega rding                                            the claims.
                                                 the jury, in appli catio n to the laws cited in
 throu gh disco very and trial as decid ed by
                                                                                              28th
                                                  of the $1000 check, whic h occu rred on May
 Plaintiff requ ests dam ages for the expir ation
 2022.

                                                  al dam ages wher e avail able in statute.
  Plaintiff requ ests trebl ed (tripled) the actu
                                                                                                     ecut ing
                                                   ages for the plaintiffs time and expe nse pros
  Plain tiff requ ests unsp ecifie d punit ive dam                                                 ding
                                                   the defe ndan ts actio ns or omis sions , inclu
  the suit, and redre ssing the injur y done by                                                    st.
                                                    from being unla wfull y discr imina ted again
  punitive dam ages to the emo tiona l distr ess
                                                                                                the
                                                   what ever othe r reme dies the cour t deem s
  Plaintiff requ ests preju dgem ent inter est and
  plaintiff is entit led to and is just.



   :~nja min Barber      ~f a-,b---
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                       In the US District Court for the State of Oregon

Benjamin Jay Barber
V.                                                 Case No. 3:22-cv-00134-MO
Unitus Community Credit Union,
Rebecca Rich, in her official capacity                           Certificate of Service
as branch manager for Unitus
Unknown John Doe, in his official capacity as
bank teller for Unitus

                                   Certificate of Service

                                                           served on the company Unitus
On June 28th 2022 the defendant had the amended complaint
                                                           tment civil service, at the
Community Credit Union by Multnomah County Sheriff's Depar
following address.

Unitus Westmoreland Branch
1615 SE Bybee Blvd,
Portland, OR 97202



Date June 27th 2022

/s/rin~;·;v                                            Multnomah County Sheriff's Office

                                                                CIVIL PROCESS UNIT

                                           MCSO Case No. _ _ _ _ _ _ _ _ Date                    d     b/41/401.1-
                                           Name:  13enj~n'1,-¥\           ntlr
                                                                            b e.r
                                           Address: /OD L-/3       S[ 32riY A Ve.-
                                           City: r1:·\ wo..u. k lf    State: Dal  Zip:                     cr-;zz z_
                                                                                                               Amount

                                           CourtCa seNo.     3.r2z-cv -00134-
                                           Type of Process   Artltt'\ J
                                           Execution

                                           Misc. Fees




                                                                                     Amount Due


                                           Check#      Ctt56                     Total   Received


                                       '   No.   C O59 49                 Rec'd By   /Vlc;D L ,,j-       1 .   q"3/ 1'3
                                                                                                                 . BPST
                                                                                         Member Name
                                                                                                                   97 PS 331 B
